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                         EXHIBIT A
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            Robbins Geller Rudman & Dowd LLP Files Class Action Suit Against
                                    L Brands, Inc.
        July 23, 2019 07:47 PM Eastern Daylight Time

        NEW YORK--(BUSINESS WIRE)--Robbins Geller Rudman & Dowd LLP (http://www.rgrdlaw.com/cases/lbrands/) today
        announced that a class action has been commenced on behalf of purchasers of L Brands, Inc. (NYSE:LB) common stock
        during the period between May 31, 2018 and November 19, 2018 (the “Class Period”). This action was filed in the
        Southern District of Ohio and is captioned Walker v. L Brands, Inc., et al., No. 19-cv-3186.

        The Private Securities Litigation Reform Act of 1995 permits any investor who purchased L Brands common stock during
        the Class Period to seek appointment as lead plaintiff. A lead plaintiff acts on behalf of all other class members in directing
        the litigation. The lead plaintiff can select a law firm of its choice. An investor’s ability to share in any potential future
        recovery is not dependent upon serving as lead plaintiff. If you wish to serve as lead plaintiff, you must move the Court no
        later than 60 days from today. If you wish to discuss this action or have any questions concerning this notice or your rights
        or interests, please contact plaintiff’s counsel, David A. Rosenfeld or Brian Cochran of Robbins Geller at 800/449-4900 or
        619/231-1058, or via e-mail at drosenfeld@rgrdlaw.com or bcochran@rgrdlaw.com. You can view a copy of the complaint
        as filed at http://www.rgrdlaw.com/cases/lbrands/.


        The complaint charges L Brands and certain of its officers with violations of the Securities Exchange Act of 1934. L Brands
        is a specialty retailer of women’s intimate apparel and personal care and beauty products. The Company’s portfolio of
        brands includes Victoria’s Secret, PINK and Bath & Body Works.


        The complaint alleges that during the Class Period, defendants made materially false and misleading statements and/or
        failed to disclose adverse information regarding L Brands’ business and prospects, which caused L Brands stock to trade
        at artificially inflated prices of more than $37 per share during the Class Period. Specifically, the complaint alleges that,
        prior to and during the Class Period, L Brands’ Victoria’s Secret and PINK businesses began to experience deteriorating
        operating performance due to, among other things, increased competition from new lingerie brands. In an attempt to drive
        sales and retain market share in the face of increasing competition, Victoria’s Secret and PINK engaged in heavy
        promotional activities by offering consumers large discounts and even giving items free of charge. While this marketing
        strategy helped to mitigate sales declines, it adversely impacted the Company’s profit margins and cash flows and had a
        deleterious impact on the Company’s liquidity. In response to questions from securities analysts about the sustainability of
        the Company’s dividends, defendants repeatedly stated that L Brands had sufficient cash flow and cash on hand to sustain
        its dividends and that the Company, “in its history, ha[d] never reduced the dividend.” Then, just weeks after defendants
        issued a series of false and misleading statements about the Company’s dividends, L Brands announced that it was
        cutting its dividend in half so that it could pay down existing debt. In response to this news, the price of L Brands common
        stock declined approximately 18%, from $34.55 per share on November 19, 2018 to $28.43 per share on November 20,
        2018.

https://www.businesswire.com/news/home/20190723006012/en/Robbins-Geller-Rudman-Dowd-LLP-Files-Class/?feedref=JjAwJuNHiystnCoBq_hl-ad…     1/3
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7/25/2019Plaintiff 2:19-cv-03186-SDM-CMV
                      to recover damages  on behalf
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                                                                                                                              (the
        “Class”). The plaintiff is represented by Robbins Geller, which has extensive experience in prosecuting investor class
        actions including actions involving financial fraud.


        Robbins Geller Rudman & Dowd LLP is one of the world’s leading law firms representing investors in securities litigation.
        With 200 lawyers in 9 offices, Robbins Geller has obtained many of the largest securities class action recoveries in history.
        For six consecutive years, ISS Securities Class Action Services has ranked the Firm in its annual SCAS Top 50 Report as
        one of the top law firms in the world in both amount recovered for shareholders and total number of class action
        settlements. Robbins Geller attorneys have helped shape the securities laws and have recovered tens of billions of dollars
        on behalf of aggrieved victims. Beyond securing financial recoveries for defrauded investors, Robbins Geller also
        specializes in implementing corporate governance reforms, helping to improve the financial markets for investors
        worldwide. Robbins Geller attorneys are consistently recognized by courts, professional organizations and the media as
        leading lawyers in the industry. Please visit http://www.rgrdlaw.com for more information.


        https://www.linkedin.com/company/rgrdlaw
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        Contacts
        Robbins Geller Rudman & Dowd LLP
        David A. Rosenfeld or Brian Cochran, 800-449-4900
        drosenfeld@rgrdlaw.com
        bcochran@rgrdlaw.com



          Tweets by @rgrdlaw
                  Robbins Geller
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                  .@rgrdlaw filed a class action against CannTrust
                  Holdings Inc. Check to see if you are a member of the
                  proposed class. $CTST #shareholders #investors
                  rgrdlaw.com/cases-canntrus…

                                        CannTrust Holdings Inc.
                                        rgrdlaw.com




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                  Robbins Geller
                  @rgrdlaw
                   .@rgrdlaw’s #antitrust practice focuses on representing
                   businesses and individuals who have been the victims of
                   price-fixing, unlawful monopolization, market allocation,
                   tying and other anti-competitive conduct. Read more:
https://www.businesswire.com/news/home/20190723006012/en/Robbins-Geller-Rudman-Dowd-LLP-Files-Class/?feedref=JjAwJuNHiystnCoBq_hl-ad…   2/3
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                                                                                           Jul 24, 2019


                   Robbins Geller
                   @rgrdlaw
                   @rgrdlaw filed a class action against L Brands. Check to
                   see if you are a member of the proposed class. $LB
                   #shareholders #investors bit.ly/2JZczJ4




                                                                                           Jul 23, 2019




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                  Robbins Geller Rudman & Dowd LLP on LinkedIn




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